8 F.3d 817
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis Deon CHANDLER, Plaintiff-Appellant,v.C/O RICHARDSON;  Administration, Danville City Jail;  R. J.Jones, Jr.;  W. W. Tucker, Sergeant;  Jim Hayton;Sergeant Karnes, Defendants-Appellees.
    No. 92-7008.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  December 29, 1992.Decided:  November 4, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.
      Dennis Deon Chandler, Appellant Pro Se.
      W. Carrington Thompson, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Dennis Deon Chandler appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Chandler v. Richardson, No. CA-91-248 (W.D. Va.  Aug. 20, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    